
ORDER
| Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel, and the response thereto filed by respondent agreeing to the entry of an order of interim suspension,
IT IS ORDERED that respondent, Chester Quinton Bell, Louisiana Bar Roll number 34379, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX; § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the Office of Disciplinary Counsel may seek the appointment of a trustee(s) to protect the interests of respondent’s clients pursuant to the provisions of Supreme Court Rule XIX, § 27, if appropriate.
NEW ORLEANS, LOUISIANA, this _day of_, 2016.
FOR THE COURT:
/s/ Marcus R. Clark
/s/ Justice, Supreme Court of Louisiana
